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                UNITED STATES COURT OF APPEALS
              FOR THE DISTRICT OF COLUMBIA CIRCUIT


WYNNEWOOD REFINING COMPANY,
LLC, COFFEYVILLE RESOURCES                          Case No. 22-1015
REFINING & MARKETING, LLC,
                    Petitioners,
       v.
UNITED STATES ENVIRONMENTAL
PROTECTION AGENCY,
                    Respondent.



     PETITIONERS’ STATEMENT OF THE ISSUES TO BE RAISED

      Pursuant to this Court’s February 8, 2022 Order and Circuit Rule 28,

Wynnewood Refining Company, LLC, and Coffeyville Resources Refining &

Marketing, LLC (“Petitioners”) through undersigned counsel, hereby submit the

following non-binding statement of issues to be raised:

      1.    Was the final action of the Administrator of the United States

Environmental Protection Agency (“EPA”), titled “Renewable Fuel Standard

(RFS) Program: Extension of Compliance and Attest Engagement Reporting

Deadlines.” 87 Fed. Reg. 5696 (Feb. 2, 2022), which modified and compressed

annual compliance deadlines under the RFS program, arbitrary, capricious, or

otherwise contrary to law?
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      This statement is preliminary. Petitioners reserve the right to modify and

amend its issues to be raised.

 Dated: March 3, 2022                        Respectfully submitted,
                                              s/ Jonathan G. Hardin
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                         CERTIFICATE OF SERVICE

      Pursuant to Federal Rule of Appellate Procedure 25 and D.C. Circuit Rule

25, I caused the foregoing to be electronically filed with the Clerk of the Court for

the United States Court of Appeals for the D.C. Circuit by using the CM/ECF

system. I certify that all participants in the case are registered CM/ECF users and

that service will be accomplished by the CM/ECF system.



Dated: March 3, 2022
                                        s/ Jonathan G. Hardin
                                       Jonathan G. Hardin
                                       PERKINS COIE LLP
